USCA Case #23-5044      Document #2011549                Filed: 08/09/2023      Page 1 of 34




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                        FOR THE DISTRICT OF COLUMBIA CIRCUIT



              Argued May 19, 2023                      Decided July 18, 2023
                                                     Reissued August 9, 2023

                                       No. 23-5044

                                   lNRE: SEALED CASE


                      Appeal from the United States District Court
                              for the District of Columbia
                                  (No. 1:23-sc-00031)


                   Ari Holtzblatt argued the cause for appellant. With him on
              the briefs was Whitney Russell.

                  James 1 Pearce, Assistant Special Counsel, U.S.
              Department of Justice, argued the cause for appellee. With him
              on the brief were J.P. Cooney, Deputy Special Counsel,
              Raymond N Hulser, Counselor to the Special Counsel, and
              Cecil W. VanDevender and John M Pellettieri, Assistant
              Special Counsels.

                  Before: PILLARD, CHILDS and PAN, Circuit Judges.

                  Opinion for the Court filed by Circuit Judge PAN.
USCA Case #23-5044       Document #2011549                    Filed: 08/09/2023        Page 2 of 34




                                                2
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                    PAN, Circuit Judge:* The district court issued a search
              warrant in a criminal case, directing appellant Twitter, Inc.
              ("Twitter") to produce information to the government related
              to the Twitter account "@realDonaldTrump." 1 The search
              warrant was served along with a nondisclosure order that
              prohibited Twitter from notifying anyone about the existence
              or contents of the warrant. Twitter initially delayed production
              of the materials required by the search warrant while it
              unsuccessfully litigated objections to the nondisclosure order.
              Although Twitter ultimately complied with the warrant, the
              company did not fully produce the requested information until
              three days after a court-ordered deadline. The district court
              thus held Twitter in contempt and imposed a $350,000 sanction
              for its delay.

                   In this appeal, Twitter argues that the nondisclosure order
              violated the First Amendment and the Stored Communications
              Act; that the district court should have stayed its enforcement
              of the search warrant until after Twitter's objections to the
              nondisclosure order were resolved; and that the district court
              abused its discretion by holding Twitter in contempt and
              imposing the sanction. We affirm the district court in all
              respects.




                   NOTE: Portions of this opinion contain Sealed Information,
              which has been redacted.
                   During the pendency of this appeal, Twitter, Inc. merged into a
              privately held company named X Corp. Opening Br. iii. For ease of
              reference, we refer to appellant as "Twitter" throughout this opinion.
USCA Case #23-5044      Document #2011549                Filed: 08/09/2023       Page 3 of 34




                                             3
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                                             I.

                                            A.

                  The Stored Communications Act (the "Act"), 18 U.S.C.
              § 2701 et seq., establishes procedures for law enforcement
              officers to obtain evidence from electronic service providers in
              criminal cases. The Act permits the government to obtain a
              search warrant or court order that directs the service provider
              to tum over "the contents of [a subscriber's] wire or electronic
              communication" or "a record or other information pertaining
              to a subscriber." 18 U.S.C. § 2703(b)(l), (c)(l). A service
              provider that receives an order to produce subscriber data can
              move to quash or modify the order by showing that the
              information requested is "unusually voluminous" or that
              compliance "would cause an undue burden." Id. § 2703(d).
              Service providers that give information to the government
              under the procedures prescribed by the Act are immunized
              from liability. Id. § 2703(e).

                   The Act allows the government to seek a nondisclosure
             order, which directs service providers "not to notify any other
             person" of a warrant or order's existence "for such period as
             the court deems appropriate." Id. § 2705(b). A court "shall
             enter" such a nondisclosure order if "there is reason to believe
             that notification of the existence of the warrant" or order will
             result in one of five enumerated harms: "(l) endangering the
             life or physical safety of an individual; (2) flight from
             prosecution; (3) destruction of or tampering with evidence;
             (4) intimidation of potential witnesses; or (5) otherwise
             seriously jeopardizing an investigation or unduly delaying a
             trial." Id.
USCA Case #23-5044      Document #2011549                 Filed: 08/09/2023       Page 4 of 34




                                              4
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                                             B.

                   Since November 18, 2022, Special Counsel Jack Smith has
              overseen an ongoing criminal investigation into potential
              interference with the peaceful transfer of power following the
              2020 presidential election. The investigation encompasses
              events related to the riot that took place on January 6, 2021, at
              the United States Capitol. See In re NY Times Co., No. 1:22-
              mc-100 (BAH), 2023 WL 2185826, at *4 (D.D.C. Feb. 23,
              2023); U.S. DEP'T OF JUSTICE, APPOINTMENT OF A SPECIAL
              COUNSEL (Nov. 18, 2022), https://perma.cc/34GU-BESD.
              "Despite the intense media attention" surrounding that
              investigation, it "proceeds behind doors that remain closed to
              the public." In re Press Application for Access to Jud. Recs.
              Ancillary to Certain Grand Jury Proc. Concerning Former
              Vice President Pence, No. 1:23-mc-35 (JEB), 2023 WL
              3931384, at *1 (D.D.C. June 9, 2023). The instant case arises
              from the Special Counsel's investigation.

                  On January 17, 2023, the government applied for, and
             obtained, a search warrant that directed Twitter to produce data
             and records related to the "@realDonaldTrump" Twitter
             account. At the same time, the government applied for, and
             obtained, a nondisclosure order, which prohibited Twitter from
             disclosing the existence or contents of the search warrant to any
             person. Based on ex parte affidavits, the district court found
             probable cause to search the Twitter account for evidence of
             criminal offenses. Moreover, the district court found that there
             were "reasonable grounds to believe" that disclosing the
             warrant to former President Trump "would seriously
             jeopardize the ongoing investigation" by giving him "an
             opportunity to destroy evidence, change patterns of behavior,
USCA Case #23-5044      Document #2011549                    Filed: 08/09/2023         Page 5 of 34




                                                5
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              [or] notify confederates." I.A. l; see 18 U.S.C. § 2705(b). 2
              The warrant required Twitter to tum over all requested
              information by January 27, 2023. The nondisclosure order was
              to remain in effect for 180 days after its issuance.

                   The government faced difficulties when it first attempted
              to serve Twitter with the warrant and nondisclosure order. On
              January 17, 2023, the government tried to submit the papers
              through Twitter's website for legal requests, only to find out
              that the website was inoperative. Two days later, on January
              19, 2023, the government successfully served Twitter through
              that website. On January 25, 2023, however, when the
              government contacted Twitter' s counsel to check on the status
              of Twitter' s compliance, Twitter' s counsel stated that she "had
              not heard anything about [the] [w]arrant." I.A. 50. She
              informed the government that an on-time production "would
              be a very tight turnaround," but she confirmed that the
              account's available data was preserved. Id. at 50-51.

                   On February 1, 2023 - four days after the compliance
              deadline - Twitter objected to producing any of the account
              information. Although the company did not question the
              validity of the search warrant, it asserted that the nondisclosure
              order was facially invalid under the First Amendment. Twitter
              informed the government that it would not comply with the
              warrant until the district court assessed the legality of the
              nondisclosure order.

              2
                   The district court also found reason to believe that the former
             President would "flee from prosecution." J.A. 1. The government
             later acknowledged, however, that it had "errantly included flight
             from prosecution as a predicate" in its application. J.A. 281 n.1. The
             district court did not rely on risk of flight in its ultimate analysis.
             See J.A. 195.
USCA Case #23-5044      Document #2011549                Filed: 08/09/2023       Page 6 of 34




                                             6
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                  On February 2, 2023, Twitter filed a motion to vacate or
              modify the nondisclosure order; meanwhile, the government
              moved for an order to show cause as to why Twitter should not
              be held in contempt of court for its noncompliance with the
              warrant.

                   In its motion challenging the nondisclosure order, Twitter
              argued that the order violated the company's First Amendment
              right to communicate with its subscriber, former President
              Trump. The company asserted that compliance with the
              warrant before resolution of the motion to vacate or modify the
              nondisclosure order would preclude the former President from
              asserting executive privilege to shield communications made
              using his Twitter account. Although Twitter acknowledged
              that it "may not have standing to raise [executive privilege]
              issues," and took "no position on the applicability of executive
              privilege," the company asserted that prompt compliance with
              the warrant would nevertheless "impede its ability to effect its
              First Amendment rights to provide meaningful notice to its
              user." J.A. 15, 17-18. Citing Freedman v. Maryland, 380 U.S.
              51 (1965), and Thomas v. Chicago Park District, 534 U.S. 316
              (2002), Twitter argued that the district court was obligated to
              maintain the status quo and "stay any production obligation"
              while the parties litigated the constitutionality of the
              nondisclosure order. J.A. 18.

                  The government raised two counterarguments in its
             motion for an order to show cause. First, it asserted that the
             warrant and nondisclosure order "are different court orders,
             imposing different obligations." J.A. 24. Thus, it reasoned,
             Twitter' s compliance with the warrant should not depend on
             how the court resolved any issues related to the nondisclosure
             order. Second, the government insisted that neither the warrant
             nor the Act "provide for intervention by a third party [such as
USCA Case #23-5044      Document #2011549                  Filed: 08/09/2023       Page 7 of 34




                                              7
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              Twitter] before compliance with" a warrant. Id. Accordingly,
              Twitter's obligation to promptly produce account information
              in response to the warrant was clear, and the government
              requested a hearing for Twitter to show cause why it should not
              be held in contempt. Id.

                   The district court set distinct schedules for resolving each
              of the two outstanding motions. The district court set a hearing
              on February 7, 2023, on the government's show-cause motion;
              but it put Twitter' s motion challenging the nondisclosure order
              on a slower track, ordering the government to file a response to
              that motion by February 16, 2023, with Twitter's reply due on
              February 23, 2023.

                                             C.

                  At the February 7 hearing, the district court heard
              arguments from both parties about Twitter's noncompliance
              with the search warrant. Although Twitter requested that the
              court stay its enforcement of the warrant until after it
              adjudicated Twitter's motion to vacate or modify the
              nondisclosure order, the court denied that request and found
              Twitter in contempt of court.

                   In an oral ruling, the court rejected Twitter's argument that
              the First Amendment required adjudication of the
              nondisclosure order before enforcement of the warrant.
              Adopting Twitter' s requested approach would "invite
              intervention by Twitter - let alone every other electronic
              communications provider - to delay execution of any
              [warrant] ... issued under the [Act]" while it litigated
              challenges based on "slivers of knowledge" of an
              investigation's scope. J.A. 212. Because "any challenge to a
              [nondisclosure order] is separate from a challenge to a search
USCA Case #23-5044     Document #2011549                Filed: 08/09/2023      Page 8 of 34




                                            8
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              warrant" and additional delays would "increase[] the risk that
              evidence will be lost or destroyed, heighten[] the chance the
              targets will learn of the investigation, and jeopardize[] the
              government's ability to bring any prosecution in a timely
              fashion," the court refused to stay its enforcement of the
              warrant. Id. at 213 (citing Google LLC v. United States,
              443 F. Supp. 3d 447,455 (S.D.N.Y. 2020)).

                  The district court further determined that "the government
             ha[d] satisfied ... [the] requirements for finding [Twitter in]
             contempt" for failing to comply with the warrant. J.A. 211. It
             found that the search warrant "was an unambiguous court order
             requiring Twitter to comply with production of the specified
             records ... by January [27], 2023," and that Twitter violated
             the court's order by failing to tum over the records. Id. at
             211-12. Nonetheless, the district court gave Twitter an
             opportunity to purge its contempt by producing the account
             information. When the court asked Twitter' s counsel whether
             the company could produce the required materials by 5 :00 p.m.
             that evening, counsel answered: "I believe we are prepared to
             do that. Yes, Your Honor." Id. at 210. The court also asked
             the government what sanctions it would request if Twitter
             failed to comply. The government suggested sanctions that
             would accrue at a geometric rate: $50,000 per day, to double
             every day that Twitter did not comply. The court adopted that
             suggestion, noting that Twitter was sold for over $40 billion
             and that its owner's net worth was over $180 billion. Twitter
             did not object to the sanctions formula. Accordingly, the
             district court ordered Twitter to produce the records specified
             by the warrant by 5:00 p.m. on February 7, 2023. If Twitter
             did not purge its contempt by that time, the district court
             ordered "escalating daily fines" that were "designed to ensure
             Twitter complies with the search warrant." Id. at 213-14.
USCA Case #23-5044      Document #2011549                   Filed: 08/09/2023        Page 9 of 34




                                               9
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                   Twitter missed the 5 :00 p.m. deadline. Although Twitter
              timely produced some records, its production was incomplete.
              After a follow-up call with the government on the next day,
              Twitter produced supplemental infonnation in the early hours
              of February 9, 2023. The district court held a second hearing
              on February 9, 2023, during which the court meticulously
              reviewed the requirements of the warrant and resolved any
              remaining disputes. At that hearing, Twitter made several new
              representations related to its production of responsive
              materials. See, e.g., I.A. 242 ("[Government Counsel]: This is
              the first time I have heard a complaint about a date limitation
              on IH."); id. at 254 ("This is the first time we are hearing about
              another preservation between January 3rd and January 9."); id.
              at 254-55 ("I have never heard of 'fleets' in part of any
              discussion that we have had .... It still will be relevant, it still
              will be responsive."). Twitter completed its production at 8:06
              p.m. on February 9, 2023.

                  The parties subsequently submitted papers regarding the
             applicability of sanctions. The government suggested that
             Twitter's three days of noncompliance after the deadline had
             passed merited a $350,000 sanction, under the sanctions
             formula that the court previously had adopted and announced.
             See Gov't Notice Regarding Accrued Sanction 2, ECF No. 19.
             Twitter denied that any penalty was "appropriate," arguing that
             it had acted in good faith and had substantially complied with
             the February 7 deadline. I.A. 274. Twitter further argued that
             an incremental $200,000 sanction for the last day of
             noncompliance was unjustified, in light of "new search terms
             provided by the government" shortly before 4:00 p.m. on
             February 9 and Twitter's production of the required
             information "just hours" after the February 9 hearing. Id. at
             277-78. Notably, Twitter still did not object to the sanctions
             fonnula.
USCA Case #23-5044      Document #2011549                    Filed: 08/09/2023         Page 10 of 34




                                                10
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                   On March 3, 2023, the district court issued an opinion and
              order denying Twitter' s motion to vacate or modify the
              nondisclosure order, finding Twitter in civil contempt, and
              imposing a $350,000 contempt sanction. The district court
              assumed without deciding that Twitter's First Amendment
              challenge to the nondisclosure order should be analyzed under
              the exacting standard of strict scrutiny. The district court
              determined that the order, which prohibited speech about a
              particular warrant for a 180-day period, was a narrowly tailored
              means to protect the compelling interest of safeguarding the
              integrity and secrecy of an ongoing criminal investigation. The
              court further held Twitter in contempt for its three days of
              noncompliance with the production order and rejected the good
              faith and substantial compliance defense that Twitter had
              asserted. 3

                   Twitter filed a timely notice of appeal. It moved both the
              district court and this Court to stay the $350,000 sanctions
              payment pending appeal. Both courts denied Twitter' s
              motions. Twitter subsequently paid the $350,000 sanction into
              an escrow account maintained by the district court clerk's
              office.

                  On June 20, 2023, during the pendency of this appeal, the
              government filed an ex parte motion in the district court,

              3     The district court ordered Twitter to comply with the warrant by
              5:00 p.m. on February 7, 2023. J.A. 216. Twitter did not complete
              its production of account infonnation until 8:06 p.m. on February 9,
              2023. J.A. 276. Thus, Twitter delayed its production for a 51-hour
              period. The district court's order increased the sanction amount
              "every day," so it reasoned that additional fines "accrued as soon as
              12:00 [a.m.]" at the beginning of each new day. J.A. 389. The
              51-hour period, therefore, constituted three days of noncompliance.
              See id.
USCA Case #23-5044     Document #2011549                 Filed: 08/09/2023       Page 11 of 34




                                             11
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              requesting a modification and extension of the nondisclosure
              order. The government proposed to permit Twitter to notify
              the former President of the existence and contents of the
              warrant. The only limitation on the disclosure would be to
              withhold the identity of the case agent assigned to the
              investigation. Gov't Mot. to Modify & Extend 1, ECF No. 45.
              The government changed its position due to the additional
              information "about investigations of the former President [that
              became] publicly available" after the nondisclosure order was
              issued and after the district court denied Twitter' s motion to
              vacate or modify the order. Gov't Mot. to Modify & Extend 6,
              ECF No. 45. The government also requested that the amended
              nondisclosure order remain in effect for an additional 180 days.
              The district court granted the government's motion on the same
              day it was filed. See Order, ECF No. 46.

                                            II.

                   Twitter claims that the district court: (1) imposed an
              unlawful nondisclosure order that violated the First
              Amendment; (2) erred by refusing to stay its enforcement of
              the warrant while the parties litigated Twitter's constitutional
              challenge to the nondisclosure order, thereby failing to
              implement procedural safeguards required by Freedman;
              (3) erred in its application of§ 2705(6) of the Act because,
              Twitter asserts, there was no reason to believe disclosure would
              harm the investigation; and (4) abused its discretion by finding
              Twitter in contempt, discounting Twitter' s good faith and
              substantial compliance, and levying an unduly coercive
              sanction.

                  We have jurisdiction to review the final contempt
              adjudication under 28 U.S.C. § 1291. See Salazar ex rel.
              Salazar v. District of Columbia, 602 F.3d 431, 436 (D.C. Cir.
USCA Case #23-5044      Document #2011549                   Filed: 08/09/2023         Page 12 of 34




                                               12
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              2010). We also have jurisdiction to review the district court's
              order denying Twitter' s motion to vacate or modify the
              nondisclosure order under the collateral-order doctrine. The
              collateral-order doctrine permits appeals from "decisions
              [1] that are conclusive, [2] that resolve important questions
              separate from the merits, and [3] that are effectively
              unreviewable on appeal from the final judgment in the
              underlying action." Oglala Sioux Tribe v. US. Nuclear Regul.
              Comm 'n, 896 F.3d 520, 528 (D.C. Cir. 2018) (alterations in
              original) (quoting Mohawk Indus., Inc. v. Carpenter, 558 U.S.
              100, 106 (2009)). The district court's order conclusively
              rejected Twitter' s challenges to the nondisclosure order. It
              resolved important questions unrelated to the underlying
              investigation, including whether the nondisclosure order
              survived strict scrutiny. If we declined to exercise jurisdiction
              over the instant appeal, the district court's order would be
              effectively unreviewable because it concerns Twitter's rights,
              not the rights of any individual targeted by the grand jury: The
              issues raised by Twitter cannot be reviewed in an appeal of the
              final judgment in the underlying criminal case. See In re
              Application of Subpoena 2018R00776, 947 F.3d 148, 154 (3d
              Cir. 2020) (In re Subpoena). With all three elements of the
              collateral-order doctrine met, we are satisfied that we have
              appellate jurisdiction.

                    But each of Twitter's arguments implicates an additional
              jurisdictional or procedural issue. The government argues that
              Twitter's claims based on the First Amendment and Freedman
              are moot; and that Twitter forfeited its statutory argument by
              first raising it in a reply brief in the district court. Furthermore,
              Twitter' s payment of the contempt sanction raises the question
              of whether its appeal of the sanction is moot. We conclude that
              we may review all of Twitter's claims except for the statutory
              argument, which was forfeited.
USCA Case #23-5044      Document #2011549                  Filed: 08/09/2023         Page 13 of 34




                                               13
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                                              A.

                  Article III of the Constitution grants the federal courts
              power to resolve "actual, ongoing controversies," meaning that
              "we lose jurisdiction if a pending case becomes moot."
              Trump v. Mazars USA, LLP, 39 F.4th 774, 785 (D.C. Cir. 2022)
              (quoting Planned Parenthood of Wis., Inc. v. Azar, 942 F.3d
              512,516 (D.C. Cir. 2019)). Accordingly, we may not decide a
              case if "events have so transpired that the decision will neither
              presently affect the parties' rights nor have a more-than-
              speculative chance of affecting them in the future." J T. v.
              District of Columbia, 983 F .3d 516, 522 (D.C. Cir. 2020)
              (quoting Clarke v. United States, 915 F.2d 699, 701 (D.C. Cir.
              1990) (en bane)).

                   Nevertheless, "[a] court can decide an otherwise-moot
              matter if the dispute is capable of repetition yet evading
              review." Mazars USA, 39 F.4th at 786. This exception applies
              if: (1) "the challenged action [i]s ... too short to be fully
              litigated prior to its cessation or expiration"; and (2) "there [i]s
              a reasonable expectation that the same complaining party
              would be subjected to the same action again." Weinstein v.
              Bradford, 423 U.S. 147, 149 (1975) (per curiam). The alleged
              wrong "must be defined in terms of the precise controversy it
              spawns." People for Ethical Treatment of Animals, Inc. v.
              Gittens, 396 F.3d 416, 422 (D.C. Cir. 2005).

                                              1.

                    The government asserts that Twitter' s First Amendment
              argument is moot because the nondisclosure order has been
              modified to remove the provision that Twitter challenges -
              i.e., the prohibition against Twitter communicating about the
              warrant with the account holder. Gov't Rule 280) Letter (June
USCA Case #23-5044     Document #2011549                 Filed: 08/09/2023        Page 14 of 34




                                             14
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              21, 2023). In response, Twitter argues that the dispute over the
              originally issued nondisclosure order is capable of repetition
              yet evading review. Twitter Rule 28G) Letter (June 22, 2023).
              We think Twitter has the better of this argument.

                   When considering whether a dispute is capable of
              repetition, we focus not on "the precise historical facts that
              spawned the [litigant's] claims," but "whether the legal wrong
              complained of ... is reasonably likely to recur." Del Monte
              Fresh Produce Co. v. United States, 570 F.3d 316, 324 (D.C.
              Cir. 2009). We have emphasized that this test should not "be
              applied with excessive 'stringency,"' Ralls Corp. v. Comm. on
              Foreign Inv. in US., 758 F.3d 296, 324 (D.C. Cir. 2014)
              (quoting Honig v. Doe, 484 U.S. 305, 318 n.6 (1988)), as it is
              a "functional approach," Del Monte, 570 F.3d at 323.

                   The legal issue Twitter raises is whether its First
              Amendment rights are violated by a § 2705(6) nondisclosure
              order that prohibits Twitter from revealing the existence or
              contents of a search warrant to its customer, who is a suspect
              in a criminal investigation. That dispute is reasonably likely to
              recur. "In estimating the likelihood of an event's occurring in
              the future, a natural starting point is how often it has occurred
              in the past." Clarke, 915 F.2d at 704. Twitter previously has
              received, and challenged, nondisclosure orders attached to
              subpoenas, warrants, and other requests for user information.
              See I.A. 217-22 (listing challenges); cf Twitter, Inc. v.
              Garland, 61 F.4th 686, 692-94 (9th Cir. 2023). And Twitter
              avers that it will continue to resist complying with
              nondisclosure orders that it believes are "facially invalid."
              Twitter Rule 28(j) Letter 2 (June 22, 2023). We think it is
              reasonably likely that the government will seek subscriber
              information from Twitter in future criminal cases, and that the
              government therefore will serve more search warrants and
USCA Case #23-5044     Document #2011549                  Filed: 08/09/2023        Page 15 of 34




                                              15
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              nondisclosure orders on Twitter. At some point, Twitter "will
              again be confronted by an order of this sort" raising a similar
              First Amendment issue. In re Reps. Comm. for Freedom of the
              Press, 773 F.2d 1325, 1329 (D.C. Cir. 1985).

                   We are unpersuaded by the government's narrow framing
              of Twitter's claims. The government asserts that it will not
              seek additional information about the former President's
              Twitter account, and that Twitter' s expressed interest in
              communicating with the former President so that he may assert
              executive privilege is case-specific. See Gov't Rule 28G)
              Letter (June 21, 2023); cf Gov'tBr. 39 n.11. But, as the district
              court noted, "Twitter' s interests here are purely about its right
              to speak to the [account user]," J.A. 379, and such interests do
              not depend on the user's identity. Twitter has claimed that it
              has a First Amendment right to meaningfully communicate
              with its users, and other account holders may hold other
              privileges, such as the attorney-client privilege, that could be
              asserted in response to a warrant issued under the Act. Twitter
              therefore could again claim that a nondisclosure order
              "impede[ s] its ability to effect its First Amendment rights to
              provide meaningful notice to its user." J.A. 17-18. We
              therefore view Twitter's claim as capable ofrepetition.

                   We have no trouble holding that a challenge to a
              nondisclosure order also "evades review." Such an order
              typically has a limited duration - the instant nondisclosure
              order was to remain in effect for 180 days and was extended on
              June 20, 2023 for a period of 180 days. See J.A. 2; Order, ECF
              No. 46; see also DEPUTY ATT'Y GEN. ROD J. ROSENSTEIN, U.S.
              DEP'T OF JUSTICE, POLICY REGARDING APPLICATIONS FOR
              PROTECTIVE ORDERS PURSUANT TO 18 U.S.C. § 2705(B), at 2
              (Oct. 19, 2017), https://perma.cc/MN34-QMNW (advising a
              one-year maximum for nondisclosure orders). As a "rule of
USCA Case #23-5044      Document #2011549                   Filed: 08/09/2023         Page 16 of 34




                                               16
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              thumb," we have considered an order of less than two years'
              duration "too short" to be fully litigated before it expires. See
              Ralls Corp., 758 F.3d at 321 (applying two-year rule of thumb
              in the context of agency actions of short duration); accord
              Kingdomware Techs., Inc. v. United States, 579 U.S. 162, 170
              (2016). Nondisclosure orders under§ 2705(b) fall comfortably
              within that timeframe. Ralls Corp., 758 F.3d at 321; see also
              Del Monte, 570 F.3d at 322 ("[T]he short duration [must be]
              typical of the challenged action.").

                   Moreover, we have reasoned in an analogous context that
              "contempt issues" that arise during a grand jury investigation
              "could not or probably would not be able to be adjudicated
              while fully live." In re Sealed Case, 877 F.2d 976, 981 n.6
              (D.C. Cir. 1989) (quoting In re Grand Jury Proc., 785 F.2d
              629, 631 (8th Cir. 1986)). After all, "a grand jury's term and
              its investigations are by their very nature of limited and
              relatively short duration." Id. at 981 n.6; accord In re Grand
              Jury Proc., 971 F.3d 40, 53 (2d Cir. 2020) ("[T]he relatively
              short duration of the grand jury has made it practically
              impossible to fully litigate . . . challenges to [a grand jury]
              subpoena."). The instant nondisclosure order was issued by the
              district court in connection with a criminal investigation by a
              grand jury, and the order's date of expiration necessarily bears
              some relationship to the limited duration of the grand jury's
              work. We find that reasoning relevant here and conclude that
              the originally issued nondisclosure order evades review. 4

              4    Twitter has not argued that the district court did not have
              jurisdiction to modify the nondisclosure order. But "[a]n appeal,
              including an interlocutory appeal, 'divests the district court of its
              control over those aspects of the case involved in the appeal."'
              Coinbase, Inc. v. Bielski, No. 22-105, slip op. at 3 (U.S. June 23,
              2023) (quoting Griggs v. Provident Consumer Discount Co., 459
USCA Case #23-5044      Document #2011549                    Filed: 08/09/2023         Page 17 of 34




                                                17
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                                                2.

                   Faced with competing motions from the parties, the district
              court chose to grant the government's motion to enforce the
              warrant before ruling on Twitter's motion to amend or vacate
              the nondisclosure order. Twitter argues that the district court
              should have decided its motion first. The government argues
              with some force that Twitter's argument about the timing of the
              district court's rulings became moot once Twitter produced the
              information that was the subject of the warrant. After all, we
              cannot now require the district court to consider Twitter' s First
              Amendment claims before enforcing a warrant that has already
              been enforced and complied with. Cf United States v. Griffin,
              816 F.2d 1, 7 n.4 (D.C. Cir. 1987); In re Grand Jury Subpoena
              Duces Tecum, 91-02922, 955 F.2d 670, 672 (11th Cir. 1992).

                   Although we agree that this dispute is moot, we also
              believe that it is capable of repetition yet evading review. Time
              is of the essence when the government seeks evidence needed

              U.S. 56, 58 (1982)); accord Deering Milliken, Inc. v. FTC, 647 F.2d
              1124, 1128 (D.C. Cir. 1978). This rule prevents the trial court and
              the appellate court from "step[ping] on each other's toes," for "[i]t
              would interfere with the appellate court's review of an order if the
              district court modified that order mid-appeal." Coinbase, slip op. at
              8 (Jackson, J., dissenting). In the instant case, the district court
              modified the nondisclosure order mid-appeal, and it appears that the
              district court may not have had jurisdiction to make that
              modification. Nevertheless, any such error does not affect our
              review of the nondisclosure order as it existed when Twitter filed the
              instant appeal. One purpose of the rule that may have divested the
              district court of jurisdiction is to allow us to proceed with our
              consideration of the appeal without interference; and our
              determination that Twitter's First Amendment claim is capable of
              repetition yet evading review gets us to the same place.
USCA Case #23-5044     Document #2011549                 Filed: 08/09/2023        Page 18 of 34




                                             18
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              in a criminal case, so there may be little opportunity to fully
              litigate a substantial constitutional claim while holding in
              abeyance the execution of a search warrant. And, despite the
              government's promise that it "does not intend to seek another
              search warrant and nondisclosure order for the former
              President's Twitter account," Gov't Br. 39 n.11, Twitter can
              reasonably expect to receive (and be ordered to comply with)
              more search warrants for other accounts, accompanied by
              nondisclosure orders that could implicate the account holders'
              privileges and Twitter's asserted First Amendment rights.

                                             B.

                   We decline to consider Twitter' s argument that the district
              court misapplied the Act because that claim was forfeited.
              Twitter contends that the district court erroneously found that
              disclosure of the warrant's existence or contents would result
              in one of § 2705(b)'s enumerated harms. See 18 U.S.C.
               § 2705(b) (requiring government to demonstrate "reason to
              believe" that disclosure of the warrant will "seriously
              jeopardiz[e] an investigation" or result in another enumerated
              harm). That argument, however, first appeared in Twitter's
              reply brief in support of its motion to vacate the nondisclosure
              order. It is well established that an argument first presented in
              a reply brief before the district court is forfeited. Schindler
              Elevator Corp. v. Wash. Metro. Area Transit Auth., 16 F .4th
              294, 302 n.3 (D.C. Cir. 2021) (citing Solomon v. Vilsack, 763
              F.3d 1, 13 (D.C. Cir. 2014)).

                                             C.

                  Finally, we agree with the parties that Twitter's challenge
              to the contempt sanction is not moot. Because Twitter
              conditionally paid the sanction and its funds are held by the
USCA Case #23-5044     Document #2011549                 Filed: 08/09/2023        Page 19 of 34




                                             19
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              district court in escrow, we may remedy any asserted error by
              ordering the district court to return Twitter's funds. See, e.g.,
              Corley v. Rosewood Care Ctr., Inc., 142 F.3d 1041, 1057
              (7th Cir. 1998) (holding that conditional payment "does not
              moot the appeal because the appellate court can fashion
              effective relief ... by ordering that the sum paid ... be
              returned"); R.1 Hosp. Tr. Nat'! Bank v. Howard Commc'ns
              Corp., 980 F.2d 823, 829 n.9 (1st Cir. 1992) (reviewing an
              appeal of a contempt sanction on the merits where the
              contemnor expressed an intent "to escrow the funds pending
              resolution of any appeal"). The availability of a remedy "is
              sufficient to prevent this case from being moot." Church of
              Scientology of Cal. v. United States, 506 U.S. 9, 13 (1992).

                                            III.

                                             A.

                   On the merits, we begin with Twitter's First Amendment
              challenge. Twitter argues that the nondisclosure order is a
              content-based prior restraint on speech. See Opening Br. 1.
              Because that argument presents a question of law, we review
              the district court's decision de novo. See United States v. Popa,
              187 F.3d 672, 674 (D.C. Cir. 1999); In re Subpoena, 947 F.3d
              at 154.

                   We assume without deciding that strict scrutiny should
              govern our review of the instant nondisclosure order. See In re
              Subpoena, 947 F.3d at 155-56; In re Search ofInfo. Associated
              with E-Mail Accts., 468 F. Supp. 3d 556, 560 (E.D.N.Y. 2020)
              (E-Mail Accounts); cf In re Nat'! Sec. Letter, 33 F.4th 1058,
              1063 (9th Cir. 2022). Nondisclosure orders implicate two
              disfavored types of speech restrictions: prior restraints and
              content-based restrictions. Prior restraints include "court
USCA Case #23-5044      Document #2011549                     Filed: 08/09/2023          Page 20 of 34




                                                 20
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              orders that actually forbid speech activities" in advance of the
              speech occurring. Alexander v. United States, 509 U.S. 544,
              550 (1993). Content-based restrictions target "particular
              speech because of the topic discussed or the idea or message
              expressed." City of Austin v. Reagan Nat'! Advert. of Austin,
              LLC, 142 S. Ct. 1464, 1471 (2022) (quoting Reed v. Town of
              Gilbert, 576 U.S. 155, 163 (2015)). Both types of restrictions
              are presumptively unconstitutional, and generally call for strict
              scrutiny. See Nat'! Inst. of Family & Life Advocs. v. Becerra,
              138 S. Ct. 2361, 2371 (2018); Se. Promotions, Ltd. v. Conrad,
              420 U.S. 546, 558 (1975). Assuming that strict scrutiny
              applies, we hold that the instant nondisclosure order, on this
              record, meets that demanding standard. 5

                   Strict scrutiny requires the government to demonstrate that
              a speech restriction: (1) serves a compelling government
              interest; and (2) is narrowly tailored to further that interest. See
              Reed, 576 U.S. at 163; Pursuing Am. 's Greatness v. FEC, 831
              F.3d 500, 508 (D.C. Cir. 2016). A restriction is narrowly
              tailored if '"less restrictive alternatives' ... would not
              'accomplish the government's goals equally or almost equally

                    We note, however, the Second Circuit's conclusion that a
              nondisclosure order "is not a typical prior restraint or a typical
              content-based restriction warranting the most rigorous First
              Amendment scrutiny." John Doe, Inc. v. Mukasey, 549 F.3d 861,
              877 (2d Cir. 2008). That court reasoned that such orders do not
              restrict "those who customarily wish to exercise rights of free
              expression, such as speakers in public fora, distributors of literature,
              or exhibitors of movies," as with typical prior restraints. Id. at 876.
              And while a nondisclosure order "is triggered by the content of a
              category of information," suggesting it is content-based, the John
              Doe court deemed it "far more limited than the broad categories of
              information that have been at issue with respect to typical content-
              based restrictions." Id.
USCA Case #23-5044     Document #2011549                 Filed: 08/09/2023        Page 21 of 34




                                             21
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              effectively."' Nat'! Ass'n of Mfrs. v. Taylor, 582 F.3d 1, 19
              (D.C. Cir. 2009) (NAM) (quoting Blount v. SEC, 61 F.3d 938,
              944 (D.C. Cir. 1995)).

                   The government proffered two compelling interests that
              supported nondisclosure of the search warrant: preserving the
              integrity and maintaining the secrecy of its ongoing criminal
              investigation of the events surrounding January 6, 2021. Gov't
              Br. 20. Those interests are "particularly acute where, as here,
              the investigation is ongoing." In re Subpoena, 947 F.3d at 156.
              Investigating criminal activity is a "core government function
              that secures the safety of people and property." Google LLC,
              443 F. Supp. 3d at 452. In addition, the government's interest
              is heightened where an investigation has national security
              implications, for "no governmental interest is more compelling
              than the security of the Nation." Haig v. Agee, 453 U.S. 280,
              307 (1981). Thus, the government's interest was particularly
              strong here because its ongoing investigation aimed to
              "[f]erret[] out activity intended to alter the outcome of a valid
              national election for the leadership of the Executive Branch of
              the federal government ... and [to assess] whether that activity
              crossed lines into criminal culpability."          J.A. 372-73.
              Moreover, secrecy is paramount to ensuring that ongoing
              investigations can proceed without interference from targets or
              interested parties. See Google LLC, 443 F. Supp. 3d at 453.
              Breaching the investigation's confidentiality could open the
              door to evidence-tampering, witness intimidation, or other
              obstructive acts. See 18 U.S.C. § 2705(b); see also In re
              Subpoena, 947 F.3d at 156 ("[P]rotecting the secrecy of an
              investigation" is a compelling government interest.). Here, the
              district court specifically found reason to believe that
              disclosure of the warrant would jeopardize the criminal
              investigation. See J.A. 1. We therefore conclude that the
USCA Case #23-5044      Document #2011549                   Filed: 08/09/2023         Page 22 of 34




                                               22
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              government's      asserted     interests   were     unquestionably
              compelling.

                   The nondisclosure order was also "narrowly tailored to
              advance the State's compelling interest through the least
              restrictive means." Williams-Yulee v. Fla. Bar, 575 U.S. 433,
              452 (2015). It bears emphasis that, under the strict-scrutiny
              standard, a restriction must be narrowly tailored, not "perfectly
              tailored." Id. at 454 (quoting Burson v. Freeman, 504 U.S. 191,
              209 (1992)). Here, the nondisclosure order was initially
              limited in duration to 180 days. Thus, any concerns associated
              with indefinite nondisclosure orders are of no moment here.
              Cf, e.g., United States v. Apollomedia Corp., No. 99-20849,
              2000 WL 34524449, at *3 (5th Cir. June 2, 2000) (recognizing
              the "substantial constitutional questions raised by a
              nondisclosure order without any limitation as to time"); In re
              Grand Jury Subpoena for: [Redacted]@yahoo.com, 79 F.
              Supp. 3d 1091, 1093 (N.D. Cal. 2015) (positing that§ 2705(b)
              restricts nondisclosure orders' duration to "some limit less than
              infinity"). Moreover, the speech restricted- disclosure of the
              existence or contents of the warrant - was limited to
              information that Twitter obtained only by virtue of its
              involvement in the government's investigation. Courts have
              suggested that such information, procured from the
              government itself or pursuant to a court-ordered procedure, is
              entitled to less protection than information a speaker possesses
              independently. See Butterworth v. Smith, 494 U.S. 624, 636
              (1990) (Scalia, J., concurring) (distinguishing constitutional
              protection of what grand jury witnesses know beforehand from
              what they learn "only by virtue of being made a witness");
              Seattle Times Co. v. Rhinehart, 467 U.S. 20, 33 (1984) ("[A]n
              order prohibiting dissemination of discovered information
              before trial is not the kind of classic prior restraint that requires
              exacting First Amendment scrutiny."). Importantly, Twitter
USCA Case #23-5044     Document #2011549                  Filed: 08/09/2023        Page 23 of 34




                                             23
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              remained free to raise general concerns about warrants or
              nondisclosure orders, and to speak publicly about the January
              6 investigation.

                   Twitter's contrary arguments are unpersuasive. First,
              Twitter claimed that the government's interest in maintaining
              the confidentiality of the criminal investigations was
              undermined by information already in the public sphere.
              Twitter asserted that "the cat [was] out of the bag: the
              public ... already [knew] that the Special Counsel [was]
              investigating the former President and collecting his private
              electronic communications." Opening Br. 25. We disagree.
              At the time of Twitter's challenge to the nondisclosure order,
              some information about grand jury subpoenas or visitors to the
              federal courthouse was public. But Twitter sought to disclose
              a different category of information, i.e., the existence of a
              search warrant, which was issued by the district court upon a
              finding of probable cause that evidence of a crime might be
              found in the former President's Twitter account. See I.A. 295.
              In any event, the publicly available information that Twitter
              cited did not present the full story. Ex parte submissions
              reviewed by this court supported the district court's finding that
              disclosure would have harmed the integrity and secrecy of the
              ongoing grand jury investigation, despite public knowledge of
              the broader investigation. 6
USCA Case #23-5044     Document #2011549                 Filed: 08/09/2023       Page 24 of 34




                                            24
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                   Second, Twitter proposed two less restrictive alternatives
              to the nondisclosure order that it contended could address the
              government's concerns "while still enabling it to meaningfully
              exercise its First Amendment rights." Opening Br. 31. Those
              proposals involved revealing parts of the warrant to the former
              President or to his representatives. At the time that Twitter
              made its motion, those suggested alternatives were nonstarters
              because they would not have maintained the confidentiality of
              the criminal investigation and therefore risked jeopardizing it.
              To the extent that Twitter proposed revealing parts of the
              warrant package - the warrant and Attachment A - to the
              former President, that argument was forfeited because Twitter
              did not raise it when moving to vacate the nondisclosure order.
              See I.A. 16-17. In any event, such action would not have
              safeguarded the security and integrity of the investigation, as
              the whole point of the nondisclosure order was to avoid tipping
              off the former President about the warrant's existence.
              Moreover, courts have rejected as "unworkable" proposals
              similar to Twitter' s idea of notifying the former President's
              lawyers or representatives about the warrant, while expecting
              them to maintain the warrant's secrecy. In re Subpoena, 947
              F.3d at 159. Such an approach would have required the district
USCA Case #23-5044      Document #2011549                 Filed: 08/09/2023        Page 25 of 34




                                             25
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              court to take on the unpalatable job of "assess[ing] the
              trustworthiness of a would-be confidante chosen by a service
              provider." Id.; see also E-Mail Accounts, 468 F. Supp. 3d at
              562 (holding that a proposal "to notify someone at the
              [targeted] company, like a senior official or a lawyer in its
              United States office, of the warrant ... was not as effective as
              the nondisclosure order" in protecting an investigation).
              Twitter thus failed to proffer any alternative to the
              nondisclosure order that "accomplish[ed] the government's
              goals equally or almost equally effectively." NAM, 582 F.3d
              at 19 (quoting Blount, 61 F.3d at 944).

                  Because the nondisclosure order was a narrowly tailored
              means of achieving compelling government interests, it
              withstood strict scrutiny.

                                             B.

                   Twitter asserts that the district court erred by declining to
              stay the enforcement of the warrant pending the court's
              adjudication of Twitter' s First Amendment challenge to the
              nondisclosure order. Twitter argues that the court's approach
              violated Twitter's constitutional rights and contradicted the
              Supreme Court's mandated safeguards in First Amendment
              cases, as prescribed in Freedman.             We find Twitter's
              arguments unconvincing.

                   The sequence in which a district court considers pending
              motions is a docket-management decision that is reviewed for
              abuse of discretion. See Banner Health v. Price, 867 F.3d
              1323, 1334 (D.C. Cir. 2017). But "we review de novo any
              errors of law upon which the court relied in exercising its
              discretion." Ameziane v. Obama, 620 F.3d 1, 5 (D.C. Cir.
              2010). In our view, the district court did not exceed the bounds
USCA Case #23-5044     Document #2011549                 Filed: 08/09/2023        Page 26 of 34




                                             26
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              of its discretion when it ordered Twitter to comply with the
              warrant before it resolved the company's challenge to the
              nondisclosure order. Although the district court could have
              resolved the First Amendment issues simultaneously with the
              show-cause order, see, e.g., Google LLC, 443 F. Supp. 3d at
              455, it was not required to do so. "[D]istrict courts have the
              inherent authority to manage their dockets and courtrooms with
              a view toward the efficient and expedient resolution of cases."
              Dietz v. Bouldin, 579 U.S. 40, 47 (2016). Here, the district
              court reasonably concluded that the warrant and nondisclosure
              order were "wholly separate order[s]" governed by different
              legal standards, and that the criminal investigation should not
              be delayed while Twitter's motion was litigated. I.A. 366.
              Because the court weighed the government's need for the
              evidence at issue in "an important ongoing criminal
              investigation," id. at 387, and chose not to delay execution of
              the warrant under the particular circumstances presented, "the
              district court acted within the range of permissible alternatives
              that were available to it," Jackson v. Finnegan, Henderson,
              Farabow, Garrett & Dunner, 101 F.3d 145, 150 (D.C. Cir.
              1996).

                   We reject Twitter's underdeveloped argument that the
              district court erred by denying it constitutionally required
              procedural safeguards, including maintaining the status quo
              until its First Amendment challenge could be adjudicated. See
              Opening Br. 37; see also I.A. 9. To support that claim, Twitter
              relies on Freedman, which addressed a very different
              "noncriminal process" - i.e., "the prior submission of a film
              to a censor." Freedman, 380 U.S. at 58. The "scheme" in
              Freedman "condition[ed] expression on a licensing body's
              prior approval of content," which "presents peculiar dangers to
              constitutionally protected speech." Thomas, 534 U.S. at 321
              (quoting Freedman, 380 U.S. at 57).
USCA Case #23-5044     Document #2011549                 Filed: 08/09/2023       Page 27 of 34




                                             27
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                    In that readily distinguishable context, the Supreme Court
              held that a censorship system "avoids constitutional infirmity
              only if it takes place under procedural safeguards." Freedman,
              380 U.S. at 58. Those safeguards are: "(l) any restraint prior
              to judicial review can be imposed only for a specified brief
              period during which the status quo must be maintained;
              (2) expeditious judicial review of that decision must be
              available; and (3) the censor must bear the burden of going to
              court to suppress the speech and must bear the burden of proof
              once in court." Thomas, 534 U.S. at 321 (quoting FW/PBS,
              Inc. v. Dallas, 493 U.S. 215,227 (1990) (principal opinion of
              O'Connor, J., joined by Stevens and Kennedy, J.J.)). The
              Supreme Court extended those safeguards to other censorship
              and licensing schemes in the years following Freedman. See,
              e.g., Se. Promotions, Ltd., 420 U.S. at 554, 559-61 (censorship
              board for theater productions); City of Littleton v. Z.J. Gifts
              D-4, L.L.C., 541 U.S. 774, 776 (2004) (licensing for adult-
              entertainment businesses); Riley v. Nat'! Fed'n of Blind of
              NC., Inc., 487 U.S. 781,802 (1988) (licensing for professional
              fundraisers).

                   Twitter asserts that Freedman obligated the district court
              to maintain the status quo - i.e., forbear from enforcing the
              warrant - while Twitter's objections to the nondisclosure
              order were litigated. See Opening Br. 35-37. But the
              Freedman safeguards applied by the Supreme Court to
              censorship and licensing schemes are a poor fit in this case.
              Whereas Freedman expressly addressed a "noncriminal"
              scheme and imposed protective measures designed to ensure
              prompt access to judicial review, Freedman, 380 U.S. at 58-
              59, the instant warrant and nondisclosure order were issued
              directly by a court in connection with a criminal investigation.
              Twitter received the full judicial process contemplated by
              § 2705(b)- a neutral and detached judge considered statutory
USCA Case #23-5044     Document #2011549                  Filed: 08/09/2023       Page 28 of 34




                                             28
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              factors and made specific findings that supported the issuance
              of the nondisclosure order. See 18 U.S.C. § 2705(b); see also
              J.A. 1-2. Thus, there was no need in this case to maintain the
              status quo until a court could review Twitter' s arguments
              because judicial review of statutory requirements had already
              occurred before the nondisclosure order was even served on
              Twitter. Freedman is inapplicable in this case.

                   The more analogous Supreme Court cases are those in
              which the Court upheld confidentiality requirements with
              respect to information obtained in connection with court
              processes. In Rhinehart, the Court sustained a protective order
              that prohibited a party from disseminating information learned
              through pretrial discovery. Rhinehart, 467 U.S. at 37. Because
              the information did not arise from "a traditionally public source
              of information," it "[did] not raise the . . . specter of
              government censorship." Id. at 32-33. And in Butterworth,
              the Court recognized that while a grand jury witness generally
              had a right to disclose his own testimony, that right did not
              extend to information that the witness gleaned from
              participating in the investigation. Butterworth, 494 U.S. at 626,
              633 (holding state confidentiality law unconstitutional "insofar
              as [it] prohibits a grand jury witness from disclosing his own
              testimony after the term of the grand jury has ended," but
              leaving in place "that part of the ... statute which prohibit[ed]
              the witness from disclosing the testimony of another witness"
              (emphasis omitted)).

                  Thus, the district court was not obligated to implement
              Freedman-style procedures while considering a motion to
              vacate an order that merely precluded "disclosure of a single,
              specific piece of information that was generated by the
              government" - i.e., that the government obtained a court order
              compelling production of a user's data. In re Nat 'l Sec. Letter,
USCA Case #23-5044     Document #2011549                 Filed: 08/09/2023        Page 29 of 34




                                             29
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              33 F.4th at 1077. A nondisclosure order is not the type of
              "classic prior restraint" addressed by Freedman, and Twitter
              received considerable process before the warrant and
              nondisclosure order were even issued. See In re Warrant to
              Search a Certain E-Mail Account Controlled & Maintained by
              Microsoft Corp., 855 F.3d 53, 56 (2d Cir. 2017) (Camey, J.,
              concurring in denial of reh' g en bane) (observing that a warrant
              "issued by a neutral magistrate judge upon a showing of
              probable cause ... satisfie[ s] the most stringent privacy
              protections our legal system affords").

                                             C.

                    Finally, we affirm the district court's contempt sanction.
              A civil-contempt proceeding requires: "(1) issuance of an
              order; (2) following disobedience of that order, issuance of a
              conditional order finding the recalcitrant party in contempt and
              threatening to impose a specified penalty unless the recalcitrant
              party purges itself of contempt by complying with prescribed
              purgation conditions; and (3) exaction of the threatened penalty
              if the purgation conditions are not fulfilled." NLRB v. Blevins
              Popcorn Co., 659 F.2d 1173, 1184 (D.C. Cir. 1981). The
              violation must be proven by clear and convincing evidence.
              Broderickv. Donaldson, 437 F.3d 1226, 1234 (D.C. Cir. 2006).
              We review both a contempt finding and a contempt sanction
              for abuse of discretion. In re Fannie Mae Sec. Litig., 552 F.3d
              814, 818 (D.C. Cir. 2009).

                                             1.

                  The district court followed the procedure we have
              prescribed for imposing a contempt sanction. Faced with
              Twitter's alleged noncompliance with the warrant, the district
              court issued a show-cause order and held a hearing at which
USCA Case #23-5044     Document #2011549                  Filed: 08/09/2023        Page 30 of 34




                                              30
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              Twitter had an opportunity to be heard. At that hearing, the
              district court found that Twitter had disobeyed a "clear and
              unambiguous court order" -          i.e., the warrant -     that
              "requir[ ed] Twitter to comply with production of the specified
              records ... by January [27], 2023." J.A. 211. Because the
              government proved that Twitter stood in contempt of the
              warrant, the district court threatened to impose "escalating
              daily fines" unless Twitter purged the contempt by turning over
              the records by 5:00 p.m. on February 7. Id. at 213; see id. at
              211, 216. Before setting that deadline, the district court
              confirmed that Twitter could meet it. When Twitter failed to
              timely purge its contempt, the district court appropriately
              issued another order that "exact[ed] ... the threatened penalty"
              - a $350,000 sanction. Blevins Popcorn, 569 F.2d at 1184;
              see J.A. 216, 354-55.

                   The district court properly rejected Twitter's assertion that
              no sanction was warranted because it substantially complied
              with the warrant and acted in good faith. We have not decided
              whether a contemnor may rely on its good faith and substantial
              compliance to avoid a civil-contempt sanction. Food Lion, Inc.
              v. United Food & Com. Workers Int'! Union, AFL-CIO-CLC,
              103 F.3d 1007, 1017 (D.C. Cir. 1997). Assuming such a
              defense is available, it requires a contemnor to "demonstrate
              that it 'took all reasonable steps within [its] power to comply
              with the court's order."' Id. (quoting Glover v. Johnson,
              934 F.2d 703, 708 (6th Cir. 1991)). Good faith "may be a
              factor in determining whether substantial compliance
              occurred," but "is not sufficient to excuse contempt." Id. at
              1017-18.

                  Twitter contends that it "substantially complied with the
              [w]arrant" because "there was nothing [it] could have done to
              comply faster" after the court issued the February 7 order.
USCA Case #23-5044     Document #2011549                 Filed: 08/09/2023        Page 31 of 34




                                             31
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               Opening Br. 4 7. Twitter also blames the government for failing
              to clarify the warrant's obligations. Id. at 47-48. We are
              unpersuaded. The district court noted that Twitter complied
              with the warrant "only after it had already delayed production
              since January 27, the original deadline." I.A. 387 (emphasis in
              original). The court opined that, had Twitter "been diligent and
              serious in its good faith intention to comply with the
              [w]arrant," it would have brought any issues to the
              government's attention "on January 19, 2023, or subsequently
              upon review by in-house counsel on January 25 and 26, 2023,
              or even during ongoing conversations with the government
              through February 1, 2023." Id. at 388. Instead, the court found
              that Twitter repeatedly represented to the court that it stood
              ready to comply, even as Twitter waited until after the February
              7 deadline "to raise,for the first time, multiple questions about
              the [w]arrant's document demands." Id. at 387 (emphasis in
              original). Under those circumstances, the district court was on
              firm footing when it ruled that Twitter had not substantially
              and in good faith complied with the warrant. See Food Lion,
              103 F .3d at 1019 ( concluding that a company did not
              substantially comply when it "did not seek a clarification" of
              an order requiring production or "ask for an extension" before
              the production deadline).

                   Twitter argues that the district court erred by considering
              Twitter's conduct between January 19 (when it received the
              warrant) and February 7 (when the court ordered it to comply
              with the warrant by 5:00 p.m.). According to Twitter, the
              district court could find it in contempt based only on actions
              taken after the February 7 order issued. Opening Br. 49. That
              argument fails because it appears to assert good faith,
              substantial compliance with the February 7 order instead of the
              warrant. At the February 7 hearing, the district court found
              Twitter conditionally in contempt for violating the warrant, but
USCA Case #23-5044      Document #2011549                  Filed: 08/09/2023        Page 32 of 34




                                              32
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              the court provided Twitter with an opportunity to purge that
              contempt and avoid sanctions by producing the warrant returns
              by 5:00 p.m. that day. See J.A. 211-15. When Twitter failed
              to timely purge, the court found the company in contempt for
              disobeying the warrant and imposed the threatened sanctions.
              See id. at 211, 354-55. Thus, Twitter's assertions of good faith
              and substantial compliance should have addressed all of its
              efforts to comply with the warrant, not just its efforts to purge
              its contempt by the 5:00-p.m. deadline. Twitter cites no
              authority supporting the proposition that a district court must
              limit its review of a putative contemnor' s good faith and
              substantial compliance to a specific timeframe. Although we
              have reversed a district court that "limited its inquiries about [a
              contemnor's] compliance efforts to events that occurred before
              [a] fine started to accrue," we did so in part because that court
              "did not consider good faith for any purpose." Wash. Metro.
              Area Transit Auth. v. Amalgamated Transit Union, Nat'! Cap.
              Loe. Div. 689, 531 F.2d 617, 621 (D.C. Cir. 1976). It does not
              follow that a district court must avoid considering the overall
              picture of a party's efforts to comply with a court order.

                  Accordingly, the district court did not abuse its discretion
              by finding Twitter in contempt and rejecting its purported
              defense of good faith and substantial compliance.

                                              2.

                   The district court did not abuse its discretion in imposing
              a $350,000 sanction. Civil-contempt sanctions "may not be
              punitive" and "must be calibrated to coerce compliance."
              In re Fannie Mae Sec. Litig., 552 F.3d at 823. The district
              court here imposed a geometric sanctions schedule that would
              apply if Twitter failed to complete its production by 5:00 p.m.
              on February 7: penalties began at $50,000 per day, to double
USCA Case #23-5044     Document #2011549                 Filed: 08/09/2023       Page 33 of 34




                                             33
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              every day. J.A. 216. To be sure, that schedule was highly
              coercive. As Twitter belatedly points out, after roughly one
              month of noncompliance, it would have required Twitter to pay
              a sanction greater than "the entire world's gross domestic
              product." Opening Br. 56.

                  While a geometric schedule is unusual and generally
              would be improper without an upper limit on the daily fine, we
              nonetheless uphold the district court's sanctions order based on
              the particular facts of this case. Twitter never raised any
              objection to the sanctions formula, despite having several
              opportunities to do so (at the February 7 and February 9
              hearings, and in its papers opposing sanctions). The company
              thus appeared to acquiesce to the formula. Moreover, the
              $350,000 sanction ultimately imposed was not unreasonable,
              given Twitter's $40-billion valuation and the court's goal of
              coercing Twitter's compliance.         Cf In re Grand Jury
              Subpoena, 912 F.3d 623, 626 (D.C. Cir. 2019) ($50,000 per
              day fine against a state-owned corporation); In re Grand Jury
              Investigation of Possible Violations of 18 U.S.C. § 1956 & 50
              U.S.C. § 1705, Nos. l:18-mc-175, l:18-mc-176, l:18-mc-177
              (BAH), 2019 WL 2182436, at *5 (D.D.C. Apr. 10, 2019)
              ($50,000 per day fine against "multi-billion-dollar banks");
              United States v. Philip Morris USA Inc., 287 F. Supp. 2d 5, 15
              & n.11 (D.D.C. 2003) ($25,000 per day fine against company
              with $190 million annual profits). Finally, we note that Twitter
              assured the court that it would comply with the warrant by 5:00
              p.m. on February 7, and never raised the possibility that it
              would defy the order for a month and end up owing the court
              "the entire world's gross domestic product." Opening Br. 56.
              Under these case-specific circumstances, the district court
              acted reasonably and did not abuse its discretion by imposing
              the $350,000 sanction.
USCA Case #23-5044      Document #2011549                  Filed: 08/09/2023         Page 34 of 34




                                              34
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                                             * * *
                   In sum, we affirm the district court's rulings in all respects.
              The district court properly rejected Twitter' s First Amendment
              challenge to the nondisclosure order. Moreover, the district
              court acted within the bounds of its discretion to manage its
              docket when it declined to stay its enforcement of the warrant
              while the First Amendment claim was litigated. Finally, the
              district court followed the appropriate procedures before
              finding Twitter in contempt of court - including giving
              Twitter an opportunity to be heard and a chance to purge its
              contempt to avoid sanctions. Under the circumstances, the
              court did not abuse its discretion when it ultimately held
              Twitter in contempt and imposed a $350,000 sanction.

                                                                     So ordered.
